  Case 2:17-cr-00049-LGW-BWC Document 22 Filed 11/13/18 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                          CR217-049


         V.




 DAVID JOSEPH MUYRES


                      CONSENT ORDER OF FORFEITURE


      WHEREAS, on September 29, 2017, the United States Attorney for the

Southern District of Georgia filed a one-count Information against Defendant David

Joseph Muyres charging a violation of 18 U.S.C. § 371 (Count One - Conspiracy);

      WHEREAS, the Information sought forfeiture pursuant 18 U.S.C. §§

981(a)(1)(C) and 982(a)(1), 21 U.S.C. § 853 and 28 U.S.C. § 2461(c) in any and all

interest in property constituting or derived from proceeds obtained directly or

indirectly as a result of such offense charged in the Information;

      WHEREAS, on October 31, 2017, pursuant to a written plea agreement,

Defendant pled guilty to Count One of the Information charging a violation of 18

U.S.C.§ 371, Conspiracy;

      WHEREAS,pursuant to his plea agreement. Defendant agreed to forfeit to the

United States all right, title and interest in property constituting or derived from

proceeds obtained directly or indirectly as a result of the commission of the offense

charged in Count One, and property used or intended to be used in any manner or

part to commit and to facihtate the commission of the offense; and
  Case 2:17-cr-00049-LGW-BWC Document 22 Filed 11/13/18 Page 2 of 4




      WHEREAS, pursuant to his plea agreement, Defendant agreed to waive the

requirements of Federal Rules of Criminal Procedure ll(b)(l)(J), 32.2, and 43(a)

regarding notice of the forfeiture in the charging instrument, announcement of the

forfeiture at sentencing, and incorporation of the forfeiture in the judgment without

further order of the Court.

      NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED THAT:


      1.     Pursuant 18 U.S.C. § 981(a)(1)(C), 18 U.S.C. § 982(a)(1), 28 U.S.C. §

2461(c), and Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure, the

Government has established the requisite nexus for the below property:

           a. $15,098.02 of the $67,702.02 that was seized from Branch Banking &
              Trust Company Account #0000147408080

(the "Subject Property") and the offense committed by Defendant, and the Subject

Property is hereby forfeited to the United States.^

      2.      Upon the entry of this Order, in accordance with Fed. R. Crim. P.

32.2(b)(3), the Attorney General (or a designee) is authorized to seize the Subject

Property, and to conduct any discovery that may assist in identifying, locating or

disposing of the Subject Property, any property traceable thereto, or any property

that may be forfeited as substitute assets.




^ The Government has agreed to release to Monument 9A Imaging and Diagnostic
Center LLC $52,604.00, exclusive of any interest thereupon, of the total seized
amount. Defendant has consented to forfeiture of the Subject Property, i.e.,
$15,098.02, exclusive of any interest thereupon.
  Case 2:17-cr-00049-LGW-BWC Document 22 Filed 11/13/18 Page 3 of 4




       3.        Upon entry of this Order, the Attorney General (or a designee) is

authorized to commence any applicable proceeding to comply with statutes governing

third-party rights, including giving notice of this Order.

      4.         Any person, other than the above-named defendant, asserting a legal

interest in the Subject Property may, within thirty days of the final publication of

notice or receipt of notice, whichever is earlier, petition the court for a hearing

without a jury to adjudicate the validity of his alleged interest in the Subject

Property, and for an amendment of the order of forfeiture, pursuant to 28 U.S.C. §

2461(c).

       5.        Pursuant to Fed. R. Grim.P. 32.2(b)(3), this Consent Order of Forfeiture

shall become final as to Defendant at the time of sentencing and shall be made part

of the sentence and included in the judgment. If no third party files a timely claim,

this Order shall become the Final Order of Forfeiture, as provided by Fed. R. Grim.

P. 32.2(c)(2).

       6.        Any petition filed by a third party asserting an interest in the Subject

Property shall be signed by the petitioner under penalty of penury and shall set forth

the nature and extent of the petitioner's right, title, or interest in the Subject

Property, the time and circumstances of the petitioner's acquisition of the right, title

or interest in the Subject Property, and any additional facts supporting the

petitioner's claim and the rehef sought.

       7.        If a petition is filed by a third party, and after the disposition of any

motion filed under Fed. R. Grim.P. 32.2(c)(1)(A) and before a hearing on the petition,




                                              3-
  Case 2:17-cr-00049-LGW-BWC Document 22 Filed 11/13/18 Page 4 of 4




discovery may be conducted in accordance with the Federal Rules of Civil Procedure

upon a showing that such discovery is necessary or desirable to resolve factual issues.

        8.     The United States shall have clear title to the Subject Property following

the Court's disposition of all third-party interests, or if none, following the expiration

of the period provided in 21 U.S.C.§ 853(n)(2)for the filing of third-party petitions.

        9.     The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

        10.    The Clerk of the Court shall forward four certified copies of this Order

to Assistant U.S. Attorney Karl I. Knoche,               States Attorney's Office for the

Southern District of Georgia, P.O. Box 8970y^vannah, Georgia 31412.

Date
                                  LISAyGODBEY WOOD,J1
                                  UIOTED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA

WE ASK FOR THIS:

                                                   'j,
 larl I. Knoche                              David Joseph IVtuy
Assistant United States Attorney             Defen
Georgia Bar No. 426624
P.O. Box 8970
Savannah, Georgia 31412
                                              lex L Zipperar,
(912)652-4422
                                             Attorney for Defead
Date:         ^ r/2.0i^
                                                Date:




                                          -4-
